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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

FANNIE MAE                                        :      CASE NO. 1:24-cv-1606
                                                  :
                                                  :      Judge Bridget Meehan Brennan
               Plaintiff,                         :
                                                  :
v.                                                :
                                                  :
HATZ ONE LLC, et al.                              :
                                                  :
               Defendants.                        :


                             NOTICE OF LACK OF AUTHORITY

       Counsel for Defendants Hatz One LLC, Hatz Two LLC, Cleveland 2 LLC, Cleveland 3

LLC, and Mendel Steiner (collectively “Hatz”) advise the Court and opposing counsel that counsel

for Hatz currently lacks authority to proceed in this matter because of the ongoing estate

proceedings for Mr. Steiner. As the Court is aware, Mendel Steiner passed away on January 9,

2025 and was the sole member of Hatz One LLC, Hatz Two LLC, Cleveland 2 LLC, and Cleveland

3 LLC. As of today, the probate court for Mr. Steiner has yet to appoint a representative or someone

with authority to direct counsel. As such, counsel lacks the authority to appear at the evidentiary

hearing, present anything to the Court, or otherwise advocate for Hatz until the estate issues are

resolved.
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                                       Respectfully submitted,

                                       UB GREENSFELDER LLP

                                       /s/ Amanda J. Martinsek
                                       Amanda J. Martinsek (0058567)
                                       1660 West 2nd Street
                                       Suite 1100
                                       Cleveland, OH 44113
                                       Telephone: (216) 583-7000
                                       Fax: (216) 583-7001
                                       amartinsek@ubglaw.com

                                       OFFIT KURMAN, P.A.

                                       /s/ Joyce A. Kuhns
                                       1954 Greenspring Drive, Suite 605
                                       Timonium, MD 21093
                                       (410) 209-6400 (phone)
                                       (410) 209-6435 (facsimile)
                                       jkuhns@offitkurman.com

                                       ATTORNEYS FOR DEFENDANTS
                                       HATZ ONE LLC, HATZ TWO LLC,
                                       CLEVELAND 2 LLC, CLEVELAND 3
                                       LLC, AND MENDEL STEINER




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                              CERTIFICATE OF SERVICE

       I hereby certify that on February 26, 2025, a true and accurate copy of the foregoing was

filed with the Clerk of the Court and served on counsel of record via the CM/ECF system.

                                            /s/ Amanda J. Martinsek
                                            Amanda J. Martinsek (0058567)

                                            Attorney for Defendants Hatz One LLC, Hatz Two
                                            LLC, Cleveland 2 LLC, Cleveland 3 LLC, and
                                            Mendel Steiner




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